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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 JOE HOLCOMBE and CLARYCE                         )
 HOLCOMBE, Each Individually, as Heirs at         )
 Law and as Representatives of the Estate of      )
 JOHN BRYAN HOLCOMBE, Deceased                    )
                                                  )    CIVIL ACTION No. 5:18-CV-555-XR
        Plaintiffs,                               )   (consolidated with Nos. 5:18-CV-712-XR;
                                                  )   5:18-CV-881-XR; 5:18-CV-944-XR; 5:18-
        v.                                        )   CV-949-XR; 5:18-CV-951-XR; 5:18-CV-
                                                  )   1151-XR; 5:19-CV-184-XR; 5:19-CV-289-
 UNITED STATES OF AMERICA,                        )   XR; 5:19-CV-506-XR; 5:19-CV-678-XR;
                                                  )   5:19-CV-705-XR; 5:19-CV-715-XR; 5:19-
        Defendant.                                )   CV-706-XR)
                                                  )



                DEFENDANT UNITED STATES’ INITIAL DISCLOSURES
             PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 26(a)(1)


       Defendant United States of America, by and through the undersigned counsel, provides

the following initial disclosures pursuant to Rule 26(a)(1) of the Federal Rules of Civil

Procedure. These disclosures are based on the information reasonably available to the United

States at the current time. The United States reserves its right to supplement these disclosures

pursuant to Rule 26(e) of the Federal Rules of Civil Procedure.



   (A) The name and, if known, the address and telephone number of each individual

       likely to have discoverable information – along with the subjects of that information

       – that the defendant may use to support its defenses, unless the use would be solely

       for impeachment.




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Defendant United States is still in the process of identifying individuals it may rely on to support

its defenses. The United States reserves the right to identify and call as witnesses at trial any

persons who may be identified through ongoing investigation and discovery. Discovery is

ongoing and Defendant reserves its right to supplement these disclosures as additional

information becomes available.



   (B) A copy – or a description by category and location – of all documents, electronically

       stored information, and tangible things that the defendant has in its possession,

       custody, or control and may use to support its claims or defenses, unless the use

       would be solely for impeachment.



Documents in the custody of the United States Department of Justice, 950 Pennsylvania Avenue,

Washington, DC 20535. Contact counsel to obtain documents referenced. Documents related to

the enactment of the Brady Handgun Violence Prevention Act (Brady Act), as amended, and the

establishment and implementation of the National Instant Criminal Background Check System

(NICS), including but not necessarily limited to, statutes, regulations, rules, proposed rules,

guidance, memoranda, and information related to the Gun Control Act of 1968 (GCA), the Brady

Act, and the NICS Improvement Act of 2007 (NIAA); guidance to agencies regarding

submission of relevant federal records pursuant to the Brady Act and NIAA; reports to Congress

pursuant to requirements of the NIAA.



Documents in the custody of the United States Department of Justice, Bureau of Alcohol,

Tobacco, Firearms and Explosives, 99 New York Avenue, NE, Washington, DC 20226. Contact



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counsel to obtain documents referenced. Documents related to the enactment of the Brady

Handgun Violence Prevention Act (Brady Act), as amended, and the establishment and

implementation of the National Instant Criminal Background Check System (NICS), including

but not necessarily limited to, statutes, regulations, rules, proposed rules, guidance and

information related to the GCA, the Brady Act, and the NIAA; guidance to agencies regarding

submission of relevant federal records pursuant to the Brady Act and NIAA. Documents

contained in files relating to Devin Patrick Kelley purchasing firearms at Federal Firearms

Licensees (FFLs).



Documents in the custody of the United States Department of Justice, Federal Bureau of

Investigation, 935 Pennsylvania Avenue, Washington, DC 20535. Contact counsel to obtain

documents referenced. Documents related to the enactment of the Brady Handgun Violence

Prevention Act (Brady Act), as amended, and the establishment and implementation of the

National Instant Criminal Background Check System (NICS), including but not necessarily

limited to, statutes, regulations, rules, proposed rules, guidance and information related to the

Gun Control Act of 1968 (GCA), the Brady Handgun Violence Prevention Act (Brady Act), and

the NICS Improvement Act of 2007 (NIAA); guidance to agencies regarding submission of

relevant federal records pursuant to the Brady Act and NIAA.



Documents in the custody of the United States Department of Defense (DoD), 1400 Defense

Blvd., Washington, DC 20301. Contact counsel to obtain documents referenced. Documents

related to DoD’s reporting obligations into the NICS, including but not limited to, statutes,




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regulations, instructions, manuals, guidance, and memoranda of understanding regarding

reporting requirements under the GCA, the Brady Act, and the NIAA.



Documents in the custody of the United States Department of the Air Force, 1400 Defense Blvd.,

Washington, DC 20301. Contact counsel to obtain documents referenced. Documents related to

the implementation of the National Instant Criminal Background Check System (NICS),

including but not limited to, statutes, regulations, instructions, manuals, and guidance regarding

reporting requirements under the GCA, the Brady Act, and the NIAA.



Discovery is ongoing and Defendant reserves its right to supplement these disclosures as

additional information becomes available.



   (C) A computation of any category of damages claimed by defendant, making available

       for inspection and copying under Federal Rule of Civil Procedure 34, the documents

       or other evidentiary material, not privileged or protected from disclosure, on which

       such computation is based, including materials bearing on the nature and extent of

       injuries suffered.



The United States is not currently seeking damages from the Plaintiffs or any other party.

Discovery is ongoing and Defendant reserves its right to name third-party defendants to seek

damages, including contribution and/or indemnification.




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   (D) For inspection and copying under Federal Rule of Civil Procedure 34, any insurance

      agreement under which an insurance business may be liable to satisfy all or part of

      a possible judgment in the action or to indemnify or reimburse for payments made

      to satisfy the judgment.



      Not applicable.



Dated: June 24, 2019                     Respectfully submitted,

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                                         JOHN F. BASH
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                                  By:    /s/ Paul David Stern
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